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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

 Date: July 18, 2023       Time: 1 hour       Judge: YVONNE GONZALEZ ROGERS
                                 41 minutes
  Case No.:22-cv-01470-YGR Case Name: Plumbers and Steamfitters Local 60 Pension Trust
                                       v. Meta Platforms, Inc. et al


Attorney for Plaintiff: Jeremy Lieberman and Austin Van
Attorney for Defendant: Andrew Clubok and Susan Engel

 Deputy Clerk: Edwin Cuenco                 Court Reporter: Raynee Mercado


                                      PROCEEDINGS

Motion to Dismiss – HELD.

Motion to Dismiss is argued, submitted, and Granted by the Court. Defendants’ Request for
Judicial Notice is Granted. Plaintiffs are granted leave to further amend their complaint.
Plaintiffs’ deadline to file their Second Amended Complaint is set for September 18, 2023.
Defendants’ deadline to respond is set for October 31, 2023. Written order to issue.
